264 F.2d 789
    Howard JAMISON, Administrator of the Estate of Mary G. Clark, Deceasedv.Edwin S. KAMMERER and Walter Edelen, Edwin S. Kammerer, Appellant.Howard JAMISON, Administrator of the Estate of Thelma J.Graham, Deceasedv.Edwin S. KAMMERER and Walter Edelen, Edwin S. Kammerer, Appellant.Howard JAMISON, Administrator of the Estate of AlfredWilliam Fallon, Deceasedv.PENNSYLVANIA RAILROAD COMPANY, Allegheny County SanitaryAuthority and United Foundation, UnitedFoundation, Appellant.
    Nos. 12766-12768.
    United States Court of Appeals Third Circuit.
    Argued Dec. 1, 1958.Decided Feb. 26, 1959.
    
      James F. Manley, Pittsburgh, Pa., (James J. Burns, Jr., Pittsburgh, Pa., on the brief), for appellants.
      James P. McArdle, Pittsburgh, Pa., for appellee.
      Before BIGGS, Chief Judge, and MARIS, GOODRICH, McLAUGHLIN, KALODNER, STALEY and HASTIE, Circuit Judges.
      PER CURIAM.
    
    
      1
      These appeals present the same issues as those decided today in Corabi v. Auto Racing Co., 3 Cir., 264 F.2d 784.  We note that in thirty-three additional civil actions in the court below Mr. Jamison was named as administrator in order to create federal diversity jurisdiction.  We observe also, as in the Corabi case, that the events complained of in these three suits occurred in Pennsylvania and the decedents were residents of Pennsylvania.  If the situation presented requires a cure that cure in the present state of the law cannot come from this court.  For the reasons stated in the Corabi opinion the judgments will be affirmed.
    
    